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iN THE C!RCU|T COURT OF "£"HE FIRST JUDZC!AL C|RCUFT
WEL.LIAMSON COUNTY, iLi_ENC|lS

LAW/-\NDA FOUREZ, in\:ii\ri<jursiiys
end as Aciministrator of the E£siste of FRANK

jF‘OUi-'EEZ. deceased
` Pia§ritiff,

n VS.

0 CHRIS'T`OPHER GREATER AREEA RURAL HEALTH

"'§'J_ PLAN NiNG CORPORATIO|C)N, D!B/A Z_EiGLER

,_`< CJOMN!UNITY HEALTH ANE) DEZNTAL CENTER.
ZF£!C§LER CONEMUN|TY HEAL,”I"H ANB DENTAL
C&ENTER, DR. CLINT CC)NNORf MAR!ON HOSP%TAL
CORPORATION, DiBfA HEARTLAND REG}ONAL
MEDICAL CENTER, HEARTLAND REG|ONAL
MED|CAL GENTER, an Iiiinois Corporetion. end
SOUTHERN ii_LENCI>iS HOSP!TAL SERV¥CES D/BIA
HERR§N HOSF°\“?AL.

 

Nci. 03~§.~139

WVvV\/vww\,/VVWVMWV~_/VW

Defendan§.
SUMONS

“§'o each defendant Dr. Ciint Connor, 27 Ciroie St_., Zeig¥er, iL 62999

You are summoned and required to me orr answer in this oese, or otherwise Eis your appearance
in the Offioe of the Ciori< of this Court, ll\i THE CC>URT HOUSE BU|LD|NG, room , Niarion.
iii`enois, within 30 days o?ter service of ihis summons not counting the day of service i§: YOU FA§L TD
DC) SO, A JUDGNEENT OR DECREE BY D£ZFAULT MAY BE TAKEN ACSAINST YOU FOR Ti-¥E RELJEF

AS§<ED iN THE{ COMPLAENT.

To the officer: _
T§'iis summons must be roi.‘urned by the offier or other person ‘zo whom it Wes given for S@rvioe,

with endorsement of servic;,o and fees, if sny, immediately after services if service cannot be mede,
summons shell be returned so indorssd,

Tiwis summons may not be served fstsr than 30 days sist its dete. , ,
1 l “'=
Wimess /L' L~;)»=:r?“ .20 C)g

(Seai of Court) ,_.H i
. \.g §§ /§ )F /g_/M"~§~)'d"j"`“"/€>- g
. (Cisrk of the C`.|rouit Court} U{\v/!\`..")

By:

 

[Deputy)

(Pisirr:ifi’s Attomey or Piaiotiff ii he is not represented by en Attorooy)
Neme: i\fiari< If), Prince

Princo l..aw Firrn
Attomey fort Piaintiff

Address: 204 West Coiiege, PO Bo>< 1830
City: Carbonciale, i§. 62903»1€130
Phorie: (S'iS) 457-5575
Fs><‘. {518)45?-5565 l ___* _ _ _ _`___W_,_,,, ,
' ii‘:;~\ r~ f -- i-.- i§§'
': E'§ ‘ ' §§ §

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IN THE CIRCUIT COURT OF TB.E FI.RS'§` J`U_DICXAL C]§C T§§~NJE
_ `“. o ill

memlSoN coU`N’rY,uiLn\iots {J 3
..,_ § ' 9005) 2

LA`WANE§>A FOUREZ, individually
and as Adn:oinistrator of ties Estste of PRANK FOUREZ,
'dsceassd,

Plz‘liz'ltif€,
v.

)

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cemSToPHER GR.EATER A.R.EA RURAL simms )
PLANNINo oossot<m‘tot<i, merit zetot,ss )
wme HEALTH Az~it) I)ENTAL comm )
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ZEIGLE'R COMMLH\UTY HEALTH AND DENTAL
CENTIER.', DR. CL§NT CONNOR, MARION HOSPITAL
CC)R,PORATION, D/B/A X~IEARTLAND

REGIONAL MEDICAL CENTER, HEMTLAND
P_EGIONF\_L i\/£EIL‘ICA§.- CENT'ER, am Hiiz).ois
Corpora.tio'o, and SOUTHERN ILLINOIS HOSPITAL
SERVICES I)/B/A HERBIN HOSPITAL,

Dsfenéi:znts_
COMYLAINT

 

COUNT ONE

Now comes the statutes Lawsids swiss individually and as zimmer
of the Estats of Frs;o§c Fou:ro:z, dsossssd, by her attorneys Pmtoo st Firm,, and for
Couot Oos of her Complaira.t against the Dotondsnt, Cb;t~l$tophor Groator Arss Rm.'al
Hsa.ith Plam:ittg; Coxporai:ion, dib/a Zeig;ior Community Hoalth and Dontsl C`.sntor mci
Zsiglor Cornmunity PIssi.ii;i and Dsntsi Cent;sr, and the Dot`sndant, Dr. C'i.int Cosnor,
states as foflows:

1. 'i.`hatt st oil times herein, staa:rda Fourez and }?:‘aok Fou:rsz Woro married
to one another and resided in Ftanldin Cotmty, liiioois.

2. That st ali times heroin, Dofendant, C];\x'istophor Grr-:ate:r A.'rsa Rural Hsalth

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ax f °ei_"se 935-§@v-0001%?919--DRH DGW D 11”83 68 32 fm Pg §
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Plsm:dog Co'rpora'don djbfa Zoigler Commu:oity Hoaith and Den'tal Caoter and Dofsndent,
Ze;i.glor Comxounity I“l'oalth and Dontal Contsr {hetoaftor collectively referred to as
“Zjoigios Ciinic") avers health services clinics engaged in prodding modian services to
rise gonei‘ai popoiatiozt and was doing business in and about Wiiiiamsom Comlty, llijnois.

3. ’I`i:tat at ali times herein, the Dofondant, Dz'. Clint Cosnor, was employed
by the Zeigior Clinic defendants and was acting widii;o the scope of and in the course of
his employment

4- Tl:lai 311 all times herein, the Dofos;),dollt, Ho'al'tlamd Reg'ional Modical
Csotsr, Was a hospital engaged in providing medical services and was located in
Will:i.smsoo ill»ottotyj illinois

s ma at as times hew se Dsfssdsat, items I-tOE.psai, was a mayes
engaged in providing medical services and was located in Wi.l.liamsoo Coooty, Elinois.

6. 'ihat at all times mentioned heroin there existed between I~`ranic l?om‘oz
and the Defeodaots a physician-patient relationship

7. Ti:iat on and befo'ze duly 21, 2{}06, the I)oi`oodmat, Dr. Clj:ot Co:mor, had
proscribed to Frrmlc Foi.troz the medication known as Prevaool.

8. ’Ihst on or about Jt:iy 21, 2806, the Defendaot, Dr. Clin.t Coooor,
prescribed to I'"Iani< Fouroz the medication known ss Vyton`n add discontinued die
'Prevaool proscription

9. 'I`hat psior to prescribing the Vyto:“in ro.edioatioo, tile Dofenda;rd, Dr. Climt
Connor did not Porform any testing to insuxs that Vytotin`was an appropriate medication
for l=`ramlc Foorez.

19. 'I“hat subsequent to pros<:xibing title Vyton'it medication to Frrml< Fourez,

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` (¥J`ase 3: 09- 0\/- -00019- DRH- DGW Document 2-. 1 Filed 01/08/09 Page 4 c|)§c SBszageP?D #lZ

the Defendant, Dr. Clint Connor, did not perform any testing to either monitor Franlc
Fou:rez’ lives enzyme levels ct to otherwise make sure dsat the Vytotin medication Was
safe for l'~`rank Fo'csez and not causing him any problems

ll. That after tls.e Vytorin medication Was prescribed and ingestcd, l?ranlc
§E"oorez began experiencing difficulties With the medication and reported these symptoms
to tile §)efendant, Dr. Clint Connor. lf)r. Connor told tom that the symptoms were not
related to the Vytonn and instructed to continue taking the medication

1'.‘)`

,_._

'l`liat on Septentber 18, 2006, Pssnlc l?onrcz was admitted to the
Defendant, I-le:<nn Hospital, where he stayed until SePtetnber 23, 2006

13. ’l`l'lat subsequent to ins discliata'e n ora l“ien:in llospital l`ta nlt chte'ez was
hospitalized at the Defendant, Hear'dond Regional Medioal Ccnter, nom September 23,
2006, through on or about Septetnbe:.“ 29, 2006

14. ’I`l:zat tl:).e Dol"endan’r, Dr. Clint Cc)nnor, continued to provide medical
Services to Franl£ l"`oa.n"ez While be Was hospitalized at both Hetrin Hospital and Hemland
Regional Medical Centet.

15. That Franlc Fotn:e;>.' Was nanst`en'ed to St. Lonis Universit'y Hospital on or
about September 29, 2006, Where he remained until be died on Ootober i, 2006,

16. Tbat the lf)efendant, Zeigler Clinic, by and through its agent, servant, and
employee Defendant, Dt. Clint Connor, and the Dcfendant, lf)r. Ci§.nt Ccnno“r, Were
negligent in one or more of the following manners:

a. Failed to order sine appropriate testing and screens before

prescribing Vyon‘in;,

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g.

mprcpcrly interpreted any testing that he might have done before
prescribith Vytort‘:o;

Prcscribcd Vytorirx when it was not appropriate tc dc so.

Fsiled to order the appropriate testing mci screens after prescribing
Vytoriz‘.r;,

Ia:uprcpcr`ly interpreted any testing that bc might hch done after
prescribing Vytoz;“in;

Fs.i]od to properly monitor and treat the Plcinti£t"s decedent Whi`lc
hospita§izcd in Hen'in Hospitsl and Hca;ctls:cd chlonsl Mcdicsl
Cs’xztsy;

13a-lied to discontinue the Vytorin thc he shouth 11ch done so.

17. That as a direct and proximate result of one or more of the foregoing acts

cf ncg]igoncc, Prmlc Pou:rsz died on Ootc)bcr 1, 2096, thereby ticp:iving his next of kin

of his `lovc, coa‘.r:'fcrtJ guidaocc, socioty, education and support

18. 'Thst this action is brought pursuant to the ltlioois Wrccgfml Dccth Act.

19. ’Ihat attached hereto ss Exbibit A is the undersignch Affidsvit rsqucsti:lg

thc automatic 90 day extension of time within which to 516 the Ccrti£cs.to of Mcrit

because ‘§r:,c has not had an opportunity to obtain s oons'l.tltation With a Ii_ccnscd healthcan

provider due to the imptmding statute of§imitaticn.

W”HERZEFORE Plaintiff mays for judgment co this Cocnt m his favor and against

the Dsfcnda:ct ic am amount in excess of SS0,000.00, plus cost of

suit

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Mszk D. l’rixz_co

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COUNT TWO

 

NOW COMES the Plairttit`f: hart/anda I"oorez: individually and as administrator
of the Bstate of Frar_tlc Potlrez;, deeeased, by his attomeys, Prir:tce Law .Firr:rt, end for Com:tt
Two of her Co:o;tplei:tit egai.eet the Defendant, l\/l'arion Hospital Corporetioo d/b/e
Heertlaod R.egioziei Modical Ceriter, and Heartlarid Regionel Medi.cal Center, an lllirtois
corporation, (hereefter collectively referred to es Heartlend Regiorral Medieal Ceoter)
states as follows:

l-15. That Pleiiatiffrestetes and realleges paragraphs 1-15 of Coont (‘.Itried

16. That dererg Pranl< Foorez’ hospitalization at Heartland Regiooal Mcdi.oal
C.en',ter the helenth itemized Regiorrel Medica Cehter, by acid tlirot'gh its ag eots _.
eer‘vants, and employees, were negligent 511 orie or more of the following manners:

a. Feiled. to properly treat Fraol< Foorez’ medical conditioh;
'o. Failed to transfer Fraelc Foerez to a different institution in light of
his medical condition

l?. T hat as a direct and proximate result of one or more of the foregoing acts

of negligence Franlt Foorez died on C>ctober l, 2006, thereby depriving his next elkin
of his love, oom‘fort, guidance society, education and support

l 3. 'I'hat this action is brought pursuant to the Illi,noie Wroogful Deeth `Aot.

19. That attached hereto as Ex.hibit A is the irridersigmed’e Af§.davit requesting
tide automatic 90 day extension ol" time Wit'i‘iin Whiol:t to file the Ccrtitf§oete of Meri’€
‘i:)eoeuse he has riot had an opportunity to obtain a consultation with a lieeeeed healthcare
provider due to the impending statute of limitation,.

HIEREFORE, 'Pleintift prays for §udg,merit orr thie Coo.ut in his favor and against

~Fs>¢ f cé»ée 3653 726 25?1 11-53-33 ez'e:~z P '
. `-Cv- QOlQ-DRH-DGW Document{Z-l ~:Filed 01/08/09 Page 7 ofé l§age S|[D YLB

the Dei`enclant.in an amount in excess of $50,0{}0.00, plus cost of

stot_
By‘. zifo )»Qw~r-€
Mark D. Prince

C()`U'NT IHREE

NOW CGMES the Pleintiff, stande. Foorez, indwidnally and ss administrator
of the Estcte of ?€ranlt Pourez, deceased, by his sttorneys, ?ri:oce st Fi`rrn, and for Co‘ont
'l`Wo of her Complsz'nt against the Det"encle.r).t1 l\/lorion llospitei Corporo.t:icn d/b/e
Hesrtlsn<l Regionel Meclical Center, end Hesrtla;ocl Regional Mesiicei Conter, an lllinois
corporst:'.on= (heree§ter collectivele referred to es 'Eleertlsnd. Regionel l\fieé.icel Ceoter)
states ss follows:

1'16. ’I`hat Plainnfl"restetcs and realleges paragraphs 1-15 of Ccont C)ne.

17 . That during Frsrtl<'. Fourez’ hospitalization at Hearl‘land Regional l\/Iedical
Center, the Deferi<lant, Hen'in Hospital, *oy and through its sgents, servants3 and
employees, Wcre negligent in one or more of the following manners:

a. Failecl to properly treat Franlc Foorc:z’ medical condition;
b. Failed to transfer Fraol<; Fo‘orez to a different institution in light c'f his
meclical condinon.

18. Th.rt ss a direct and proximate result of one or more of the foregoing acts

of negligence Frank Fo:orez died on October l, 2006, thereby depriving his next of kin
ot“his love, comfort, g\ndsnce, scciety, education end support

19. Thot this action is brought pursuant to the lllinois Wrongfol Death Act.

20. 'Ihet attached hereto as Ex.'oil:)it A is the ond.ersigoeé’s Arf_idevit requesting

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the automatic 90 day extension of time within which to 1'1`1e The Cert11’1021'te of 1\/1e111
because 116 has not had an opportunity to obtain a consultation mm a1icensed healthcare
provider due 10 the 11'n1_;)enc1`1ng statute 01 1111:11’1111011.

HER.EFOKE Pla:§nti£fpraye for jnd¢>men'c on this Connt 111 1115 favor `a.nd against
the Defendant 111 an amount in excess of SS0,000.00, plus cook of

`1. ` '
gm By: y%¢!.é? lQ-w'¢»@

Mm'k D. Pnnoe

AFFIDAVIT

 

"1`11@ undersigned after bemg amy sworn 011 021111, deposes and states that the

` amount of damages being sought 111 t111e case e.\ceedS 1150 000. OO.

ny 7%@~/.'./@.2211..<

Ma:t‘k; D.. Pn`:nee

Sig;ned and sworn to before me this ¢;Z_J’ f j day QEW, 2008.

 

     
    

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PRJNCE LA`W P]RM

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mdprinoe@pdncelauf§frn.net

 

